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1    Abby L. Dennis, DC Bar No. 994476
     Peggy Bayer Femenella, DC Bar No. 472770
2    Joshua Goodman, NY Bar (No Number)
     Jeanine Balbach, MD Bar (No Number)
3
     Federal Trade Commission
4    600 Pennsylvania Avenue, NW
     Washington, DC 20580
5    Tel: (202) 326-2381

6    adennis@ftc.gov; pbayer@ftc.gov;
     jgoodman@ftc.gov; jbalbach@ftc.gov
7
     [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]
8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
10

11

12   FEDERAL TRADE COMMISSION,
13                 Plaintiff,                         Case No. 5:22-cv-04325-EJD
14          v.                                        PLAINTIFF FEDERAL TRADE
                                                      COMMISSION’S PRE-HEARING
15   META PLATFORMS, INC., et al.                     PROPOSED FINDINGS OF FACT AND
                                                      CONCLUSIONS OF LAW
16                   Defendants.
                                                      REDACTED VERSION OF DOCUMENT
17                                                    SOUGHT TO BE SEALED
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1                       PLAINTIFF FTC’S PROPOSED FINDINGS OF FACT

2           A.      The Parties and the Proposed Acquisition

3           1.      Through an Agreement and Plan of Merger dated October 22, 2021, Meta

4    Platforms, Inc. (“Meta”) proposes to acquire Within Unlimited, Inc. (“Within”) (the

5    “Acquisition”), for approximately               . PX6 (Agreement and Plan of Merger) at 1, 100.

6           2.      Defendant Meta, formerly known as Facebook, is a publicly traded company

7    organized under the laws of Delaware with headquarters in Menlo Park, California. PX6

8    (Agreement and Plan of Merger) at 1, 161.

9           3.      Meta is one of the largest technology companies in the world, with profits

10   exceeding $46 billion in 2021. PX937 (Meta 2021 Form 10-K) at 51.

11          4.      Meta’s “Family of Apps”—Facebook, Instagram, Messenger, and WhatsApp—

12   claim nearly 3.6 billion “monthly active people.” PX937 (Meta 2021 Form 10-K) at 50.

13          5.      Meta also develops and commercializes virtual reality (“VR”) and other

14   metaverse products in its Reality Labs division. PX50 (Zuckerberg (Meta) Dep.) at 87:11-13.

15          6.      Defendant Within is a privately held virtual and augmented reality company

16   organized under the laws of Delaware with headquarters—and its principal business—in Los

17   Angeles, California. PX6 (Agreement and Plan of Merger) at 1, 161.

18          7.      Within’s flagship product is Supernatural, a VR dedicated fitness app that offers

19   over 800 fully immersive, trainer-led workouts set to music in various virtual settings from the

20   Galapagos Islands to the Great Wall of China. Dkt. No. 1 (Complaint) ¶ 25; Dkt. No. 83

21   (Defendant Within Unlimited, Inc.’s Answer and Affirmative Defenses) ¶ 25.

22          B.      Virtual Reality Technology and the “Metaverse”

23          8.      Virtual reality (“VR”) technology allows users to put on a VR headset, such as

24   Meta’s market-leading Quest 2, and enter an immersive digital experience. E.g., PX50

25   (Zuckerberg (Meta) Dep.) at 53:9-10, 75:24-76:3; PX66 (Rubin (Meta) Dep.) at 246:7-248:10.

26          9.      Users typically engage with the VR experience through a headset with displays

27   in front of each eye to place a user in a fully rendered, three-dimensional environment. PX52

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1    (Stojsavljevic (Meta) Dep.) at 65:3-7.

2           10.     Cutting-edge VR technology creates an immersive digital experience that

3    enables users to instantly be transported anywhere in the world, backward or forward in time,

4    into outer space or fictional lands—all from the comfort and safety of their own homes. PX66

5    (Rubin (Meta) Dep.) at 246:7-247:11.

6           11.     Unlike a game, video, or app on a tablet, phone, or monitor, the three-

7    dimensional VR environment creates the perception of completely surrounding the user,

8    enabling the user to feel “immersed” in the projected space. E.g., PX314 (Meta) at 1; PX713

9    (Within) at 25, 41; PX63 (Rabkin (Meta) Dep.) at 40:1-41:1, 214:4-24.

10          12.     As Meta’s founder, CEO, Chairman, and controlling shareholder Mark

11   Zuckerberg has explained, “you’re right there with another person or in another place and that’s

12   very different from every experience of technology that we’ve had before.” PX931 at 4; accord

13   PX54 (Bosworth (Meta) Dep.) at 50:7-13 (“

14

15

16                                                                                            ”).

17          13.     VR users consume content, or applications (“apps”), on their headsets to engage

18   in VR experiences. E.g., PX52 (Stojsavljevic (Meta) Dep.) at 66:23-67:4.

19          14.     Users can download apps from app stores like the Meta Quest Store, which

20   connect VR app developers and users in an online marketplace through which developers can

21   offer their products to users for download onto their individual VR devices. PX53 (Pruett

22   (Meta) Dep.) at 23:15-20, 28:19-29:10; PX55 (Verdu (Meta) Dep.) at 51:17-22.

23          15.     App availability and prices on the Quest Store can and do vary by region, as

24   Quest headsets have a dynamic region lock that tracks a user’s geolocation and may block

25   content in certain regions. PX969 at 1-2; PX52 (Stojsavljevic (Meta) Dep.) at 68:14-18.

26          16.     VR is a major technology for the “metaverse,” which generally refers to the idea

27   of persistent, connected online virtual worlds. PX54 (Bosworth (Meta) Dep.) at 49:21-54:25.

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1           C.        Mr. Zuckerberg Decided Facebook’s Future Is the Metaverse and Has

2                     Committed Tens of Billions of Dollars to His Vision

3           17.       Although best known for its “Family of Apps,” Meta in recent years has

4    committed substantial resources and billions of dollars to its metaverse business. PX559 (Meta)

5    at 1; PX50 (Zuckerberg (Meta) Dep.) at 19:9-19, 25:21-26:5.

6           18.       Meta has pursued this course because Mr. Zuckerberg believes that the

7    metaverse will be the

8                      . PX559 (Meta) at 1-2; PX181 (Meta) at 5 (“

9                                          ); PX374 (Meta) at 1 (“

10            ); PX50 (Zuckerberg (Meta) Dep.) at 22:11-24, 59:8-60:6.

11          19.       On October 28, 2021, Facebook changed its name to Meta Platforms, Inc., to

12   reflect this vision and priority. PX951 (Meta) at 1, 4; see also PX50 (Zuckerberg (Meta) Dep.)

13   at 67:10-13 (“

14                                                                               ”).

15          20.       The company’s rebranding came with the stated goal “to bring the metaverse to

16   life” by “moving beyond 2D screens toward immersive experiences like augmented and virtual

17   reality to help build the next evolution in social technology.” PX932 (Meta) at 1, 3.

18          21.       VR is the primary technology in which Meta has invested to build the metaverse.

19   PX168 (Meta) at 1, 4; PX205 (Meta) at 1; PX412 (Meta) at 1.

20          22.       Meta’s foray into VR began in 2014, when it (then Facebook) acquired headset-

21   manufacturer Oculus VR, Inc., “the leader in immersive virtual reality technology,” for

22   approximately $2 billion. PX928 (Meta) at 1; PX50 (Zuckerberg (Meta) Dep.) at 60:16-61:22.

23          23.       Since then, Meta has focused its future on the potential of VR, and “

24                                                   ” PX50 (Zuckerberg (Meta) Dep.) at 26:19-25.

25          24.       From 2020 through September 2022, Meta spent over $31 billion on Reality

26   Labs. PX937 (Meta 2021 Form 10-K) at 51; PX960 (Meta Q3 2022 Form 10-Q) at 31.

27          25.       Meta spent more than $10 billion dollars on Reality Labs in 2021 and

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1                                                                 . PX937 (Meta 2021 Form 10-K) at

2    51; PX50 (Zuckerberg (Meta) Dep.) at 87:14-91:9; see also PX15 (Singer Rep.) ¶ 116 (2022 Q3

3    earnings show that Meta is on course to spend $14.5 billion in 2022).

4            26.     Meta boasts more than 10,000 developers in its Reality Labs Division today—up

5    from just 50 in 2014. PX56 (Carmack (Meta) Dep.) at 124:5-25; see also PX54 (Bosworth

6    (Meta) Dep.) at 27:8-11 (number of engineers in Reality Labs numbers in the thousands).

7            27.     In 2021, the same year as it announced the Acquisition, Mr. Zuckerberg made

8    the “call” to

9                                                       PX50 (Zuckerberg (Meta) Dep.) at 90:13-16.

10           D.      Meta Is Already Well on Its Way to Its Dominating this “

11                                          ”

12           28.     Meta’s Quest headsets “                                          .” PX50

13   (Zuckerberg (Meta) Dep.) at 53:9-10.

14           29.     In 2020, Meta’s VR headset sales accounted for                     of all VR

15   headsets sold worldwide. PX109 (Meta) at 14.

16           30.     That percentage                   in 2021, when industry sources estimate that

17   Meta sold more than 8.7 million Quest 2 headsets. PX15 (Singer Rep.) ¶ 21.

18           31.     Unlike earlier Meta headsets that had to be tethered to a personal computer,

19   Quest headsets can “                       .” PX63 (Rabkin (Meta) Dep.) at 24:4-5, 25:4-5.

20           32.     Meta                                                   in order to attract users.

21   PX50 (Zuckerberg (Meta) Dep.) at 12:17-13:19; PX951 (Meta) at 3.

22           33.     Meta also boasts the           app store for VR (the Meta Quest Store) by usage.

23   PX15 (Singer Rep.) ¶¶ 20-24; PX140 (Meta) at 1.

24           34.     Meta receives 30 percent of the monetary value of sales from apps sold on the

25   Quest Store. PX53 (Pruett (Meta) Dep.) at 37:25-38:7, 47:15-21.

26           35.     Meta also offers the “App Lab,” a Meta-produced tool that allows developers to

27   distribute apps that are unavailable in the Quest Store. PX63 (Rabkin (Meta) Dep.) at 27:12-17.

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1           36.

2         PX63 (Rabkin (Meta) Dep.) at 31:18-24 (“

3                                                                                     ”).

4           37.      Meta owns many of the leading apps distributed on the Meta Quest Store,

5    including the wildly popular rhythm game Beat Saber, in which the player uses virtual swords

6    to hit incoming targets timed to music. PX315 (Meta) at 1; PX121 (Meta) at 3; PX385 (Meta) at

7    4; PX57 (Dass (Meta) Dep.) at 25:15-21.

8           38.      Beat Saber is “                                 ” PX54 (Bosworth (Meta) Dep.)

9    at 123:25-124:6, 130:12-131:11, 139:21-22 (Beat Saber is “                                     ”);

10   PX56 (Carmack (Meta) Dep.) at 38:1-12 (“                                       ”).

11          39.      Since 2019, Beat Saber has been the highest earning app in the Quest store. Dkt.

12   No. 84 (Defendant Meta Platforms, Inc.’s Answer and Affirmative Defenses) ¶ 33.

13          40.      Meta acquired Beat Saber by purchasing Beat Games studios in late 2019. PX52

14   (Stojsavljevic (Meta) Dep.) at 34:18-20.

15          41.      Meta executives have described Beat Saber as a “                           ”

16   PX55 (Verdu (Meta) Dep.) at 55:2-16; PX342 (Meta) at 4.

17          42.      Since its acquisition of Beat Games, Meta has acquired a series of other studios

18   behind many popular VR apps (PX66 (Rubin (Meta) Dep.) at 173:5-176:8), giving it a large

19   first-party VR content organization. PX63 (Rabkin (Meta) Dep.) at 51:2-5.

20          43.      Meta has purchased at least nine VR app studios in the past three years (PX50

21   (Zuckerberg (Meta) Dep.) at 61:23-66:12), including closing three additional VR studio

22   acquisitions after announcing its proposed acquisition of Within.

23                a. In November 2019, Meta acquired Beat Games, maker of Beat Saber. PX4 at 172

24                   (incorporating PX505); Dkt. No. 84 (Defendant Meta Platform, Inc.’s Answer

25                   and Affirmative Defenses) ¶ 33.

26                b. In January 2020, Meta acquired Sanzaru Games, maker of the fantasy Viking

27                   combat game Asgard’s Wrath. PX4 at 172 (incorporating PX505); Dkt. No. 84

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1                (Defendant Meta Platforms, Inc.’s Answer and Affirmative Defenses) ¶ 34.

2             c. In May 2020, Meta acquired Ready at Dawn Studios, maker of Lone Echo II, a

3                zero-gravity adventure game, and Echo VR, an online team-based sports game.

4                PX4 at 118 n. 227, 119 n. 231; Dkt. No. 84 (Defendant Meta Platform, Inc.’s

5                Answer and Affirmative Defenses) ¶ 34.

6             d. In April 2021, Meta acquired Downpour Interactive, maker of Onward, a team-

7                based first-person shooter. PX4 at 172 (incorporating PX505); Dkt. No. 84

8                (Defendant Meta Platforms, Inc.’s Answer and Affirmative Defenses) ¶ 34.

9             e. In May 2021, Meta acquired BigBox VR, maker of Population One, a multi-

10               player first-person arena shooter. PX4 at 172 (incorporating PX505); Dkt. No. 84

11               (Defendant Meta Platforms, Inc.’s Answer and Affirmative Defenses) ¶ 34.

12            f. In June 2021, Meta acquired Unit 2 Games, the maker of Crayta, a collaborative

13               platform that allows users to create and play their own games. PX4 at 172

14               (incorporating PX505); Dkt. No. 84 (Defendant Meta Platforms, Inc.’s Answer

15               and Affirmative Defenses) ¶ 34.

16            g. In November 2021, Meta acquired Twisted Pixel, a studio that makes various

17               games, including Path of the Warrior (a fighting game), B-Team (a first-person

18               shooter), and Wilson’s Heart (a mystery noir thriller game). PX4 at 172

19               (incorporating PX505); Dkt. No. 84 (Defendant Meta Platforms, Inc.’s Answer

20               and Affirmative Defenses) ¶ 34.

21            h. In the second quarter of 2022, Meta acquired Armature Studio, a studio that co-

22               develops VR apps with other studios and is “

23                                          . PX52 (Stojsavljevic (Meta) Dep.) at 55:7-13,

24               136:24-137:23; PX17 (Meta Responses and Objections to FTC Interrogatory No.

25               1) at 8.

26            i. In September 2022, Meta acquired Camouflaj, which currently developing

27               Ironman and Batman VR apps for Quest. PX17 (Meta Responses and Objections

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1                    to FTC Interrogatory No. 1) at 10.

2           44.      Meta has also successfully developed its own apps. PX56 (Carmack (Meta)

3    Dep.) at 88:6-14; PX50 (Zuckerberg (Meta) Dep.) at 95:2-6, 103:13-20; Dkt. No. 84 (Defendant

4    Meta Platforms, Inc.’s Answer and Affirmative Defenses) ¶ 35.

5           45.      These apps include:

6                 a. Horizon Worlds, a massively multiplayer online game that allows users to build,

7                    share, and interact in virtual worlds. PX54 (Bosworth (Meta) Dep.) at 51:14-22;

8                    Dkt. No. 84 (Defendant Meta Platforms, Inc.’s Answer and Affirmative

9                    Defenses) ¶ 35.

10                b. Horizon Workrooms, a productivity app that lets teams of people share their

11                   computer screens, collaborate on virtual whiteboards, and more. Dkt. No. 84

12                   (Defendant Meta Platforms, Inc.’s Answer and Affirmative Defenses) ¶ 35.

13                c. Horizon Venues, a live-events app that lets users experience concerts, sporting

14                   events, and more. Dkt. No. 84 (Defendant Meta Platforms, Inc.’s Answer and

15                   Affirmative Defenses) ¶ 35.

16                d. Horizon Home, a social-space app that lets users hang out with their friends,

17                   watch videos together, and join multiplayer VR games together. Dkt. No. 84

18                   (Defendant Meta Platforms, Inc.’s Answer and Affirmative Defenses) ¶ 35.

19                e. Dead and Buried, a multiplayer shooter game for the Oculus Rift and Go

20                   devices, and Dead and Buried II, developed for the Quest and Quest 2 devices.

21                   PX56 (Carmack (Meta) Dep.) at 88:24-89:6; PX55 (Verdu) Dep. at 83:13-84:4.

22                f. Oculus TV, an app that plays “immersive 360-degree and 180-degree VR

23                   media.” PX56 (Carmack (Meta) Dep.) at 90:10-16.

24          46.      Meta has also developed “shells,” which are “a wrapper program for any

25   platform or game.” PX55 (Verdu (Meta) Dep.) at 85:25-86:19; PX56 (Carmack (Meta) Dep.) at

26   15:1-3, 15:25-16:3 (“

27                                                                         ”).

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1              47.   Horizon Worlds competes directly with the cross-platform app Rec Room. PX50

2    (Zuckerberg (Meta) Dep.) at 114:2-21, 125:5-21; PX201 (Meta) at 2.

3              48.                                                                     PX308 (Meta)

4    at 3 (“

5                                      ”); PX54 (Bosworth (Meta) Dep.) at 202:8-203:4.

6              49.   According to Mr. Zuckerberg, “

7                                                                                           ” PX50

8    (Zuckerberg (Meta) Dep.) at 56:22-25.

9              50.

10                                      PX50 (Zuckerberg (Meta) Dep.) at 105:21-106:24.

11             E.    Meta Has Long Recognized That Content (“Apps”) Drives VR Adoption

12             51.   As mentioned above, Meta sees VR as the                                    . PX63

13   (Rabkin (Meta) Dep.) at 81:14-25 (“

14                                                                     ”); PX54 (Bosworth (Meta)

15   Dep.) at 113:15-18 (“

16                                          ”).

17             52.   To achieve this vision, Meta has focused on bringing new users to its VR

18   platform. PX54 (Bosworth (Dep.) at 168:17-169:6 (

19                                                                   ); PX63 (Rabkin (Meta) Dep. at

20   98:15-17.

21             53.   Meta acknowledges that

22                               E.g., PX50 (Zuckerberg (Meta) Dep. at 92:20-93:4 (“

23                                                                                  ”); PX55 (Verdu

24   Dep.) at 128:12-18 (“

25

26                                      ”); PX239 (Meta) at 1 (“

27                                                                                                  ”).

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1           54.     Indeed, Meta refers to key apps that

2                             ” PX55 (Verdu (Meta) Dep.) at 51:7-16; PX342 (Meta) at 2; see also

3    PX54 (Bosworth (Meta) Dep.) at 58:5-13; PX52 (Stojsavljevic (Meta) Dep.) at 126:1-3

4    (“

5                                                ”).

6           55.     Sales of Quest headsets, in turn, can drive new content by app developers, in

7    what Meta has referred to as a “         ” effect—otherwise known as “network effects.”

8    PX100 (Meta) at 2-3; PX54 (Bosworth (Meta) Dep.) at 243:19-245:19; PX361 (Meta) at 4

9    (“                                                                ”).

10          56.     As Meta fully recognizes, the acquisition of new users, content, and developers

11   each feed into one another, creating a self-reinforcing cycle that serves to entrench Meta’s early

12   lead in VR. PX54 (Bosworth (Meta) Dep.) at 242:13-19 (“

13

14                                                         ”).

15          57.     Through content, Meta has also sought to keep users engaged and using its VR

16   products, which it refers to as retention. PX63 (Rabkin (Meta) Dep.) at 96:3-97:6; PX69 (Chiao

17   (Meta) Dep.) at 151:14-152:8; PX55 (Verdu (Meta) Dep.) at 75:18-76:3.

18          58.     Retention is important because “

19

20

21                                                         ” PX50 (Zuckerberg (Meta) Dep.) at

22   167:17-168-12.

23          59.     Content can also be a “                      ” between VR platforms. PX522

24   (Meta) at 1.

25          60.     As Meta’s Director of First Party Studios Rade Stojsavljevic explained:

26

27

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1                                                                           ” PX52 (Stojsavljevic

2    (Meta) Dep.) at 67:9-14.

3           61.     Not surprisingly, Mr. Zuckerberg has implored Meta personnel to “

4                               . PX522 (Meta) at 1; PX52 (Stojsavljevic (Meta) Dep.) at 69:1-24.

5           62.     Until recently, VR experiences have almost always involved games, and thus

6    attracted a heavily male, and young, audience. PX250 (Meta) at 1 (as of December 2019,

7    women were only                   of Quest users).

8           63.     To attract new users beyond young men, Meta has identified—and encouraged—

9    a number of VR “use cases” beyond games. PX50 (Zuckerberg (Meta) Dep.) at 51:25-52:2,

10   53:14-19 (“

11

12                                                  ”); PX63 (Rabkin (Meta) Dep.) at 42:14-43:8

13   (different use cases can “certainly” appeal to different people, and

14

15                       ); id. at 44:3-10.

16          64.     As explained by Mr. Zuckerberg: “

17

18

19

20                   ” PX50 (Zuckerberg (Meta) Dep.) at 84:7-16; see also id. at 198:1-4 (“

21

22                                                            ”).

23          65.     The VR Content organization is “

24                                                                                                      ”

25   PX63 (Rabkin (Meta) Dep.) at 26:23-27:6.

26          66.     New content can include first-party apps developed directly by Meta employees

27   through its studios group, which, by the fall of 2020,                                         ”

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1                                               . PX55 (Verdu (Meta) Dep.) at 117:5-18:12; see also

2    PX568 (Meta) at 1 (“

3                                                                                            ”)

4    (ellipsis in original); PX56 (Carmack Dep.) at 102:24-03:01 (“

5                                                                            ”); PX367 (Meta) at 1

6    (“

7                                         ”).

8           67.     New content can also include apps built by third parties, including those who

9    may receive some funding or support from Meta. PX63 (Rabkin (Meta) Dep.) at 53:21-54:6

10   (describing third-party developers and Meta’s incentive programs); PX66 (Rubin (Meta) Dep.)

11   at 20:18-23 (describing Meta’s second-party work, whereby Meta funds the entirety of a project

12   built by an outside developer).

13          68.     Meta acknowledges that investment in content can help grow use cases like

14   fitness. PX63 (Rabkin (Meta) Dep.) at 44:15-45:1.

15          69.     The VR Content organization was overseen by Michael Verdu until a

16   reorganization following Mr. Verdu’s departure from Meta when it was taken over by Jason

17   Rubin and made part of Meta’s “Metaverse” organization. PX63 (Rabkin (Meta) Dep.) at 34:12-

18   35:21; PX66 (Rubin (Meta) Dep.) at 145:16-46:4.

19          70.     Currently, Meta’s VR Content organization boasts

20   employees. PX63 (Rabkin (Meta) Dep.) at 228:9-14; PX66 (Rubin (Meta) Dep.) at 22:14-17.

21          71.     At the end of 2019, the VR Content organization anticipated that it would “

22

23                                        ” PX162 (Meta) at 2.

24          72.     As of November 2021, Meta anticipated investing                 in developing

25   VR content in 2022 alone. PX227 (Meta) at 2; see also PX54 (Bosworth (Meta) Dep.) at 42:13-

26   43:16, 57:21-59:12).

27          73.     Under Mr. Rubin, the Metaverse Content organization spends approximately

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1                    a year. PX66 (Rubin (Meta) Dep.) at 24:5-25:8.

2            F.       VR Dedicated Fitness Apps Like Within’s Supernatural Offer a Unique

3                     Fitness Experience

4            74.      Both Meta and Within refer to VR apps intended to provide immersive at-home

5    structured physical exercise as “deliberate” or “dedicated” fitness apps (“VR dedicated fitness

6    apps”). E.g., PX286 (Meta) at 1 (“

7                  ”); PX487 (Meta) at 4 (“

8                                                                                                   ”);

9    PX55 (Verdu (Meta) Dep.) at 120:22-24; PX63 (Rabkin (Meta) Dep.) at 179:17-181:13; PX53

10   (Pruett (Meta) Dep.) at 134:24-135:19; PX4 at 169 (“Meta currently offers only ‘incidental’

11   fitness apps (i.e., apps whose primary focus is not fitness but may provide some fitness benefits

12   through their general use). By acquiring Supernatural, a deliberate fitness app, Meta can

13   broaden its own library of content for users,                                                    ”);

14   PX60 (Paynter (Meta) 30(b)(6) Dep.) at 22:21-24:1; PX62 (Milk (Within) Dep.) at 56:14-23.

15           75.      More recently, Meta has adopted the terminology “                     ” apps to refer

16   to apps it previously referred to as “deliberate fitness” apps. PX60 (Paynter (Meta) 30(b)(6)

17   Dep.) at 22:21-24:20, 65:20-66:13; PX219 (Meta) at 7 (describing the terminology shift).

18           76.      Typical characteristics of VR dedicated fitness apps include workouts designed

19   by trainers or fitness experts and intended to maximize exertion and physical movement for the

20   purpose of exercise. PX487 (Meta) at 4 (deliberate fitness apps are “Designed to allow a player

21   to deliberately set and attain fitness goals with fitness-specific features, i.e., coaching, trackable

22   progress”); PX63 (Rabkin (Meta) Dep.) at 179:25-181:13; PX62 (Milk (Within) Dep.) at 33:7-

23   23; PX53 (Pruett (Meta) Dep.) at 134:24-136:4, 178:11-21, 182:17-183:21; PX66 (Rubin

24   (Meta) Dep.) at 133:5-11 (referring to Supernatural and FitXR as VR physical fitness apps).

25           77.      VR dedicated fitness apps offer distinct functionality when compared to other

26   VR apps, including those apps, such as rhythm and active sports games, that provide an

27   incidental fitness benefit (“incidental fitness apps”). PX487 (Meta) at 4 (for incidental fitness

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1    apps, “[p]eople are primarily playing games, and as a by-product get a workout (‘come for the

2    games, stay for the fitness’)”); PX63 (Rabkin (Meta) Dep.) at 179:21-81:21; PX529 (Meta) at 2;

3    PX57 (Dass (Meta) Dep.) at 29:12-318; PX53 (Pruett (Meta) Dep.) at 136:6-138:7; PX65

4    (Koblin (Within) Dep.) at 50:15-18 (“

5                                                                                     ”).

6           78.     For example, VR dedicated fitness apps may feature adjusting difficulty so that

7    users never “fail” a workout; they may feature workouts designed by trainers or fitness experts;

8    they are designed to maximize exertion and physical movement for the purpose of exercise; and

9    they may feature classes or other active coaching. E.g., PX346 (Meta) at 7 (“

10

11                                          ”); PX55 (Verdu (Meta) Dep.) at 193:19-22 (“

12

13                            ”); PX60 (Paynter (Meta) 30(b)(6) Dep.) at 27:9-16 (describing trainers

14   as an important part of trainer workout apps); PX1 (Meta) at 3 n.10 (“Meta draws a distinction

15   between apps designed to allow users to set and attain fitness goals, with features like coaching

16   and trackable progress (called ‘deliberate’ or ‘dedicated’ fitness apps) and games whose

17   primary focus is not fitness that allow users to get a workout as a byproduct (sometimes called

18   ‘incidental’ or ‘accidental’ fitness apps)”); PX1 (Meta) at 9 (“Supernatural users never fail out

19   of a song or workout. Difficulty is automatically adjusted to fit users’ fitness levels”).

20          79.     VR dedicated fitness apps are designed, built, and marketed with the intent of

21   providing workout routines and delivering a fitness benefit to the user over time. E.g., PX55

22   (Verdu (Meta) Dep.) at 23:8-20 (“

23

24

25                                                  ”); PX54 (Bosworth (Meta) Dep. at 122:22-123:1.

26          80.     VR dedicated fitness apps typically offer distinct prices as compared to other VR

27   apps—specifically, a subscription-based pricing model as compared to a one-time fee. PX55

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1    (Verdu (Meta) Dep.) at 56:11-57:6.

2           81.     VR dedicated fitness apps also attract distinct customers when compared to other

3    VR apps, including incidental fitness apps; specifically, the market for dedicated fitness skews

4    older and more female than other VR categories like “games.” PX118 (Meta) at 2; PX55 (Verdu

5    (Meta) Dep.) at 61:13-62:13; PX1 (Meta) at 2; PX66 (Rubin (Meta) Dep. at 132:9-11 (“

6

7           ”); see also PX62 (Milk (Within) Dep.) at 152:19-153:7; PX731 (Within) at 1 (“Unique

8    user metrics for VR        female and                       ”).

9           82.     Unlike other at-home fitness products, VR dedicated fitness apps enable users to

10   exercise in fully immersive, 360-degree virtual environments. PX314 (Meta) at 1; PX713

11   (Within) at 25, 41; PX63 (Rabkin (Meta) Dep.) at 40:1-41:1, 214:6-24; PX66 (Rubin (Meta)

12   Dep.) at 245:16-248:11; PX65 (Koblin (Within) Dep.) at 66:11-67:7; PX50 (Zuckerberg (Meta)

13   Dep.) at 60:24-61:22.

14          83.     The sensors in a VR headset and controllers also allow for a degree of tracking,

15   adjustment, and feedback that non-immersive exercise programs cannot match. PX56 (Carmack

16   (Meta) Dep.) at 30:3-22.

17          84.     And, unlike other at-home smart fitness devices, VR headsets are fully portable

18   and take up little space. PX66 (Rubin (Meta) Dep.) at 248:11-13; PX573 (Meta) at 2 (noting

19   space and portability as distinctions between VR fitness products and Peloton).

20          85.     For example, Lululemon’s Mirror workout hardware device has no 3D video,

21

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27                              ). PX82 (Lange (Lululemon) Dep.) at 37:17-38:13; 45:11-47:15; 54:3-

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1    6; 55:11-57:1; 81:13-82:21.

2           86.     VR headsets are also far less expensive than other at-home smart devices; for

3    example, a Peloton smart bicycle costs over $1,000, with an additional $44 per month

4    subscription cost, compared to the cost of $399 for the Meta Quest 2 plus $18.99 per month for

5    Supernatural. PX15 (Singer Rep.) ¶¶ 39, 42; PX664 (Within) at 1; see also PX66 (Rubin (Meta)

6    Dep.) at 252:13-20 (NordicTrack treadmill costs “somewhere around $2,000”).

7           87.     Meta has considered partnerships with at least two at-home smart fitness device

8    makers (                         ), which indicates that Meta does not consider them to be

9    competitors to VR dedicated fitness apps. PX64 (Rabkin (Meta) 30(b)(6) Dep.) at 30:3-9 (“

10

11                                                                   ”).

12          88.     VR dedicated fitness apps target users

13                                                                         PX318 (Meta) at 1 (“

14

15

16           ); PX56 (Carmack (Meta) Dep.) at 81:15-82:1; PX51 (Cibula (Within) 30(b)(6) Dep.) at

17   84:1-19 (“

18

19

20                                          ”); PX529 (Meta) at 3-4; PX563 (Meta) at 1 (“

21

22                                                             ”).

23          89.     Similarly, as Within’s co-founder and CEO Chris Milk has explained, “working

24   out in Supernatural feels like you’re a champion of a sport from the future. I love that and

25   haven’t felt that sense of athleticism ever on a treadmill or an exercise bike.” PX906 at 3-4.

26          90.     Launched in April 2020, Within’s Supernatural is now the                   among

27   VR dedicated fitness apps,                               . PX15 (Singer Rep.) ¶¶ 73-75.

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1           91.       Through deals with major music studios, Supernatural continues to grow its

2    catalog, which includes songs from A-list artists like Katy Perry, Imagine Dragons, Lady Gaga,

3    and Coldplay. Dkt. No. 83 (Defendant Within Unlimited, Inc.’s Answer and Affirmative

4    Defenses) ¶ 25.

5           92.       Customers access Supernatural’s offerings by paying a subscription fee of

6    $18.99 per month or $179.99 per year. Dkt. No. 83 (Defendant Within Unlimited, Inc.’s Answer

7    and Affirmative Defenses) ¶¶ 25, 47; PX65 (Koblin (Within) Dep.) at 37:17-38:4.

8           93.       Supernatural is presently only available on Meta’s Quest headsets. Dkt. No. 83

9    (Defendant Within Unlimited, Inc.’s Answer and Affirmative Defenses) ¶ 25.

10          94.       Due to                                     , Supernatural is sold only in the United

11   States and Canada. PX51 (Cibula (Within) 30(b)(6) Dep.) at 71:17-22.

12          95.       Other VR Dedicated Fitness Apps include FitXR, Holofit, VZFit, Les Mills

13   Body Combat and LiteBoxer, although Supernatural is                                 . PX15 (Singer

14   Rep.) at ¶ 76, Table 2-A.

15          96.       Within has identified        as Supernatural’s “closest competitor.” PX762

16   (Within) at 1.

17          97.       Supernatural and         comprised                     of revenues generated by VR

18   dedicated fitness apps in 2022, according to the available data produced by Meta and Within.

19   PX15 (Singer Rep.) ¶ 76, Table 2-A.

20          98.       Supernatural’s success is due in part to

21

22                                                                                         PX479 (Meta)

23   at 4; PX478 (Meta) at 4 (“

24                                            ”); PX53 (Pruett (Meta) Dep.) at 270:22-271:16.

25          99.       In a candid internal exchange, Meta staff suggested that the fact that

26

27                                                                                         . PX381 (Meta)

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1    at 1; see also PX66 (Rubin (Meta) Dep.) at 209:20-21 (“

2                                          ”).

3           G.       VR Dedicated Fitness Apps Drive New—And More Diverse—Users to VR

4           100.     Within’s CEO Chris Milk has referred to fitness as the “                               ”

5    PX62 (Milk (Within) Dep.) at 22:20-23:20; PX657 (Within) at 1.

6           101.     Meta too has observed that fitness brings opportunities to both attract new users

7    to VR and to sell more content to existing users in ways that can be habit-forming, encouraging

8    repeat use and high user retention rates. E.g., PX55 (Verdu (Meta) Dep.) at 107:7-24; see also

9    infra Findings of Fact ¶¶ 102-116.

10          102.

11                 , Meta recognized that fitness was “retentive” and “could attract a broader audience,

12   particularly female” and older users. PX207 (Meta) at 3, 12; PX532 (Meta) at 1 (“Fitness is

13   retentive”); PX55 (Verdu (Meta) Dep.) at 62:11-13 (“

14                                               ”); PX54 (Bosworth (Meta) Dep.) at 187:4-21.

15          103.     On top of its diversification of the user base, and retention of that user base,

16   Meta also recognized that fitness was “                                                            ”

17   which executives at Meta saw as “               ” PX118 (Meta) at 2 (also noting that fitness apps

18   “                                                         ”); PX386 (Meta) at 12 (deliberate fitness

19   “                       ”); PX528 (Meta) at 2 (“

20                                                             ”).

21          104.     A“                                     ” was attractive to Meta because it “

22

23

24

25                  ” PX63 (Rabkin (Meta) Dep.) at 152:21-153:7.

26          105.     As such, by early 2021, Meta was “starting to look closely at the fitness trend

27   since it’s very exciting.” PX448 (Meta) at 2.

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1           106.    The fitness trend was “very exciting” because “

2

3

4                                                                             ” PX63 (Rabkin

5    (Meta) Dep. at 62:25-64:4).

6           107.    Meta executives, including Mr. Zuckerberg, began to repeatedly, and

7    consistently, extol the potential of fitness to become a key “use case” for VR. PX50

8    (Zuckerberg (Meta) Dep. at 54:12-15 (“

9

10        ”); id. at 153:7-22 (“

11                                                                          ”); PX118 (Meta) at 1

12   (Mr. Zuckerberg: “                       ”).

13          108.    According to Mr. Verdu, former Vice President of VR Content,

14                                                                 ” PX55 (Verdu (Meta) Dep.) at

15   174:13-175:23.

16          109.    This interest at the highest levels of the company led Meta employees to

17   conclude that, in internal analyses,

18                                                  PX125 (Meta) at 3.

19          110.    Indeed, members of the VR Content organization had determined, by spring

20   2021, that “                                                                                ”

21   PX52 (Stojsavljevic (Meta) Dep.) at 74:19-75:5; PX179 (Meta) at 2 (observing that fitness “will

22   broaden and diversify our user base and increase Oculus frequency of use”).

23          111.    Since that time, Meta has pursued a multifaceted strategy to promote fitness on

24   its devices, including developing platform-level tools such as Oculus Move, a fitness tracker

25   that Quest users can deploy to track their time spent moving and calories burned across apps.

26   PX63 (Rabkin (Meta) Dep.) at 62:1-18; PX57 (Dass (Meta) Dep.) at 37:16-38:5; PX58 (Dass

27   (Meta) 30(b)(6) Dep.) at 10:21-11:8; PX50 (Zuckerberg (Meta) Dep.) at 132:1-20, 195:2-22.

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1           112.   Meta built Oculus Move from scratch                              PX50

2    (Zuckerberg (Meta) Dep.) at 131:7-14.

3           113.   Meta has also produced the Quest 2 Active Pack, which includes a wipeable

4    interface, wrist straps, and adjustable knuckle straps, PX63 Rabkin (Meta) Dep. at 225:5-

5    227:16: PX50 (Zuckerberg (Meta) Dep.) at 214:11-23, and has considered

6

7                                        . PX349 (Meta) at 1; PX557 (Meta) at 49, 64; PX438

8    (Meta) (                                                             .

9           114.   By August 2021, Meta had deemed fitness a “                               ” PX314

10   (Meta) at 1; PX63 (Rabkin (Meta) Dep.) at 218:11-219:1.

11          115.   Fitness continues to be a priority use case for Meta; an April 2022 strategy

12   document that was prepared for Mr. Zuckerberg identified fitness as “

13                                                    PX386 (Meta) at 11; PX54 (Bosworth (Meta)

14   Dep.) at 110:8-112:25.

15          116.   At that time, Meta recognized deliberate fitness as the fastest growing category

16   among VR apps. PX386 (Meta) at 12; PX318 at 1 (“

17                                                                            ” (brackets in original)).

18          H.     Meta Saw the Beat Saber Acquisition as a “                           ”

19          117.   Recognizing the potential for VR dedicated fitness apps to both expand its user

20   audience and drive retention, and thus propel headset sales and app monetization, Meta has

21   explored multiple pathways to enter VR dedicated fitness with its own product. See infra

22   Findings of Fact ¶¶ 118-134; 149-179.

23          118.   One natural pathway was expanding Beat Saber, which employs the same

24   slashing mechanic as Supernatural, to include fitness offerings. PX52 (Stojsavljevic (Meta)

25   Dep.) at 112:14-25; PX57 Dass (Meta) Dep.) at 25:7-21.

26          119.   Meta has acknowledged the similarity in mechanics between Beat Saber and

27   Supernatural. PX2 (Meta) at 3 (discussing Within’s reliance on a “proven game mechanic”);

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1    PX54 (Bosworth (Meta) Dep.) at 175:11-76:21; see also PX52 (Stojsavljevic (Meta) Dep.) at

2    214:17-22 (

3                                                          ”).

4           120.       And Meta employees have repeatedly

5                                  E.g., PX246 (Meta) at 1; PX110 (Meta) at 1; PX466 (Meta) at 1;

6    PX561 (Meta) at 1; PX52 (Stojsavljevic (Meta) Dep.) at 208:9-18; PX179 (Meta) at 1.

7           121.       Beat Saber is widely recognized as providing incidental fitness benefits, and

8    many users play Beat Saber for exercise. PX66 (Rubin (Meta) Dep.) at 167:17-24; PX56

9    (Carmack (Meta) Dep.) at 37:10-11, 57:4-58:11; PX50 (Zuckerberg (Meta) Dep.) at 81:15-25;

10   PX229 (Meta) at 5.

11          122.       As early as August 2019, and prior to its acquisition of Beat Games,

12

13                                          PX249 (Meta) at 1 (“

14                 ”); PX55 (Verdu (Meta) Dep.) at 21:10-22:3, 27:6-28:1.

15          123.       Mr. Verdu, the sponsor for the Beat Games deal, believed Beat Saber could go

16   further and develop a version with the functionalities of a VR dedicated fitness app. PX55

17   (Verdu (Meta) Dep.) at 23:21-24:1, 63:10-21; PX342 (Meta) at 2 (“

18                                                                                            ”).

19          124.       When Meta was weighing a bid to acquire Beat Games later that year, it foresaw

20   Beat Saber “                                                         ” PX342 (Meta) at 2, with the

21   “                                                           . PX162 (Meta) at 3; PX55 (Verdu (Meta)

22   Dep.) at 90:7-15.

23          125.       Deal strategy documents detail the natural next step for Beat Saber into fitness,

24   noting that

25                                                         ” PX162 (Meta) at 3.

26          126.       According to Mr. Verdu, the acquisition “

27

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1                                                              ” PX55 (Verdu (Meta) Dep.) at

2    60:8-12; see also id. at 63:4-21.

3           127.    Mr. Verdu was “

4                                                                                                   ”

5    PX55 (Verdu (Meta) Dep.) at 21:20-22:3.

6           128.    While the Quest and Quest 2

7

8

9

10                                 ” PX55 (Verdu (Meta) Dep.) at 22:8-17.

11          129.    Not surprisingly, since its acquisition of Beat Games in November 2019,

12                                                                      . PX55 (Verdu (Meta)

13   Dep.) at 97:19-24 (“

14                                                                     ”).

15          130.    The Beat Games founders—who remained with their studio post-acquisition—

16   have continued to express enthusiasm for expanding Beat Saber into fitness. E.g., PX468 (Meta)

17   at 1-2; PX411 (Meta) at 1 (Beat Games founder Jaroslav Beck: “

18                                                                                               ”);

19   PX458 (Meta) at 5 (

20

21

22

23                                                                                ”).

24          131.    By April 2020, just four months after the Beat Games acquisition and the same

25   month that Supernatural launched, Meta released a “bespoke” fitness track for Beat Saber called

26   “FitBeat.” PX52 (Stojsavljevic (Meta) Dep.) at 190:16-19; see also PX56 (Carmack (Meta)

27   Dep.) at 63:8-64:1 (“

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1                              ”); PX77 (Beck (Meta) Dep.) at 101:23-103:11.

2           132.    Beat Games’ cofounder Jaroslav Beck, who created FitBeat, repeatedly referred

3    to it as “the fitness song” before naming it FitBeat. PX586 (Meta) at 1; PX376 (Meta) at 3.

4           133.    From the day of its launch, FitBeat earned atypical acclaim from players to the

5    point that Mr. Beck wrote “

6         ” PX575 (Meta) at 7.

7           134.    In addition to FitBeat, Meta added a way to “loop” gameplay so users could keep

8    up physical activity in Beat Saber without stopping. PX54 (Bosworth (Meta) Dep.) at 141:19-22

9    (“

10                                       ”).

11          I.      Within Perceived Meta as a Potential Entrant into VR Dedicated Fitness

12          135.    Given Meta’s vast resources, the market’s potential, and the similarity between

13   Beat Saber and Supernatural, Within recognized that Meta was uniquely poised to enter the VR

14   dedicated fitness. Infra Findings of Fact ¶¶ 136-148.

15          136.

16

17                                             ” PX607 (Within) at 2.

18          137.    In a June 2020 Supernatural strategy presentation,

19                                                                           ” PX615 (Within) at 8.

20          138.    Another Within document reads: “

21                              ” PX619 (Within) at 4.

22          139.

23

24

25          ” PX62 (Milk (Within) Dep. at 112:22-113:12; PX729 (Within) at 1.

26          140.    Meta also hired away the head of product for Supernatural at Within to work at

27   Meta following the Supernatural launch, which was a “               ” to Within. PX62 (Milk

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1    (Within) Dep.) at 102:19-103:6; PX111 (Meta) at 1.

2           141.     In the summer of 2020, Meta

3

4                                            ” PX305 (Meta) at 2; PX54 (Bosworth (Meta) Dep.) at

5    178:14-79:22.

6           142.

7

8

9                                                                                       ” PX514

10   (Meta) at 2; see also PX67 (Brown (Meta) Dep.) at 115:5-117:18.

11          143.     Based on this threat, Within developed competitive strategies for Supernatural

12   with the specter of Meta’s potential entry in mind. Infra Findings of Fact ¶¶ 144-148.

13          144.     Within has long recognized that it must innovate and continually improve its

14   product to distance itself from potential competition; as Within’s CEO explained, “

15

16                                                        ” PX621 (Within) at 2.

17          145.

18

19                                                               PX615 (Within) at 9.

20          146.     Within also sought to

21

22                                                   ” PX615 (Within) at 9

23          147.     Within’s efforts ultimately led Within executive Jonny Ahdout to remark in

24   October 2021, while preparing to launch Within’s boxing modality and publicizing the vast

25   catalogue of songs available to Supernatural users: “

26        ” PX616 (Within) at 2.

27          148.     Within was also concerned about making any moves that would limit its ability

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1    to compete against Meta as a potential entrant;

2

3                                                                ” PX620 (Within) at 36.

4           J.      Meta Gets “Serious” About Fitness and Aims to Develop Its Own VR

5                   Dedicated Fitness App

6           149.    The COVID-19 crisis, which occurred just after Meta’s acquisition of Beat

7    Games in late 2019, naturally heightened Meta’s longstanding interest in the VR dedicated

8    fitness space. PX207 (Meta) at 3 (“COVID was the perfect stimulus”).

9           150.    In addition, holiday usage data from 2020 showed that fitness “

10                      ” and drove higher percentages of women to Meta’s VR platform than games.

11   PX52 (Stojsavljevic (Meta) Dep.) at 74:24-75:5, 78:13-20.

12          151.    Thus, by February 2021, the VR Content organization recognized that “we need

13   to get serious about doing something big in fitness.” PX189 (Meta) at 1.

14          152.    Something “big in fitness” meant Meta “

15

16                                       ” PX52 (Stojsavljevic (Meta) Dep.) at 86:8-18.

17          153.    “

18

19

20                      ” PX52 (Stojsavljevic (Meta) Dep.) at 84:17-22.

21          154.    This excitement was “

22                                ” PX52 (Stojsavljevic (Meta) Dep.) at 85:13-14.

23          155.    Given this excitement for fitness, Mr. Stojsavljevic began exploring a separate

24   Beat Saber fitness offering, including through

25        ” PX189 (Meta) at 1; PX52 (Stojsavljevic (Meta) Dep.) at 81:11-12, 82:23-24 (“

26

27                                                                                                ”).

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1           156.      Mr. Verdu “                                      ” PX63 (Rabkin (Meta) Dep.) at

2    173:20, and told Mr. Stojsavljevic “

3                                         ” PX52 (Stojsavljevic (Meta) Dep.) at 90:18-25.

4           157.      A                       appealed to Mr. Verdu

5

6                                                                     ” PX55 (Verdu (Meta) Dep.) at

7    201:24-202:8.

8           158.      Other members of the VR Content organization were similarly excited about a

9    Beat Saber                               in February 2021. PX256 (Meta) at 1 (

10                                                        ); PX111 (Meta) at 1.

11          159.      A March 2021 presentation called                                          and

12   proposed                             to “position[] Beat Saber directly as a fitness app.” PX527

13   (Meta) at 5.

14          160.      Subscription services are the best path to a financially successful VR platform,

15   PX118 (Meta) at 2; PX306 (Meta) at 2 (“

16                                  ”), and

17                                                                                         PX342

18   (Meta) at 2, 5

19

20                                                                             ).

21          161.      Besides a                                                            , other means

22   for expanding Beat Saber into dedicated fitness included organically building out the Beat Saber

23   app, through hiring efforts that would                                         PX144 (Meta) at 1.

24          162.      At this time, Messrs. Zuckerberg and Bosworth were supportive of

25

26                                            PX55 (Verdu (Meta) Dep.) at 204:22-205:8.

27          163.      Meta could have also expanded Beat Saber into dedicated fitness by “

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1                                      ” PX144 (Meta) at 1.

2           164.    Specifically, at this time in early March 2021, Meta considered

3

4                                                                                          ” PX527

5    (Meta) at 8; PX52 (Stojsavljevic (Meta) Dep.) at 136:24-137:23.

6           165.    Meta ultimately purchased Armature in 2022. PX52 (Stojsavljevic (Meta) Dep.)

7    at 55:9-11; PX555 (Meta) at 3.

8           166.    On March 4, 2021, Mr. Verdu apprised Mr. Zuckerberg of Meta’s internal efforts

9    to build its own VR dedicated fitness app, explaining that “

10

11

12                                                         ” PX118 (Meta) at 2.

13          167.    At Meta (then-Facebook), vice presidents like Mr. Verdu “

14                                                                                ” PX50 (Zuckerberg

15   (Meta) Dep.) at 111:24-112:2.

16          168.    Mr. Zuckerberg’s approval was not necessary for the expansion of Beat Saber

17   into fitness. PX50 (Zuckerberg (Meta) Dep.) at 144:2-11 (“

18

19                                           ”).

20          169.    Nevertheless, Mr. Zuckerberg responded supportively and enthusiastically within

21   minutes to Mr. Verdu’s March 4 email: “

22                                                                                          ” PX118

23   (Meta) at 1; PX50 (Zuckerberg (Meta) Dep.) at 172:2-173:5.

24          170.    That very same day, on March 4, 2021, Messrs. Verdu and Stojsavljevic

25   finalized a presentation entitled “                 ” that described “strategies” including

26

27           PX527 (Meta) at 1, 4; PX52 (Stojsavljevic (Meta) Dep.) at 114:8-115:8.

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1           171.      “Acqui-hired talent” refers to Meta’s ability to bring onboard additional content

2    producers or fitness expertise. PX52 (Stojsavljevic (Meta) Dep.) at 122:21-123:10.

3           172.      The “                   ” presentation recognized that strong brand awareness

4    around Beat Saber would have facilitated Meta’s entry into the dedicated fitness space. PX527

5    (Meta) at 5 (“

6

7                                                 ”).

8           173.      Specifically, users already associate Meta’s Beat Saber app with fitness; a

9    dedicated fitness-oriented version of Beat Saber would be in line with users’ understanding of

10   the Beat Saber brand. PX527 (Meta) at 5; PX407 (Meta) at 1-2.

11          174.      While Meta was developing paths to enter VR dedicated fitness with its own

12   product, it also was considering entering the market through acquisition of one of the existing

13   firms in the market. E.g., PX63 (Rabkin (Meta) Dep.) at 169:10-17.

14          175.      One purported reason to investigate the acquisition route was because “

15                                                                   ” PX179 (Meta) at 2—but, as

16   noted above, that problem could have been solved by a hiring process that would

17   “                                                                                          which

18   Meta subsequently did. PX144 (Meta) at 1; PX52 (Stojsavljevic (Meta) Dep.) at 205:11-24

19   (

20

21        ”).

22          176.      Moreover, Meta already has engineers with the skill set to both expand Beat

23   Saber into fitness and to build a VR dedicated fitness app from scratch. PX56 (Carmack (Meta)

24   Dep.) at 39:24-40:4 (“

25                                                          ”), & 51:18-21 (“

26

27          ”); see also id. at 53:18-54:6 (Meta could have

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1                          ).

2           177.    Thus, although the company had, by March 11, 2021, decided to “

3                                                                      ” Meta was still undertaking

4    parallel efforts to “expand[] Beat Saber to deliberate fitness.” PX179 (Meta) at 2.

5           178.    In fact, Mr. Stojsavljevic continued to believe that “

6                                                     ” to address “

7                                             ” and “

8                                                                       ” PX407 (Meta) at 1.

9           179.    By the end of March 2021, he was informing colleagues that a pitch would go to

10   executives in April                                                                   PX533

11   (Meta) at 1.

12          180.    Those efforts were tabled when Meta decided to pursue an acquisition of Within

13   in June 2021. PX52 (Stojsavljevic (Meta) Dep.) at 235:19-236:1; PX341 (Meta) at 2.

14          K.      Instead of Building its Own VR Dedicated Fitness App, Meta Decides to Buy

15                  the

16          181.    Meta’s strategy for market entry shifted when the company

17

18                                                      Infra Findings of Fact ¶¶ 182-183.

19          182.    As Mr. Verdu, deal sponsor for the Within acquisition, explained,

20

21

22                                               PX117 (Meta) at 1; see also PX55 (Verdu (Meta)

23   Dep.) at 240:8-241:4; PX579 (Meta) at 1 (“

24                                                                                         ”).

25          183.

26                                                                                         PX55 (Verdu

27   (Meta) Dep.) at 242:22-243:3 (“

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1                                              ”).

2           184.    To date, Apple has never marketed any VR headset (versus Meta’s marketing of

3    several different models over nearly a decade) and has zero headset sales (versus over 10

4    million units sold to consumers by Meta). PX54 (Bosworth (Meta) Dep.) at 103:12-17, 249:1-4;

5    see also PX55 (Verdu (Meta) Dep.) at 243:12-18.

6           185.

7

8                                     PX74 (Casanova (Apple) Dep.) at 113:17-114:11; 119:2-5.

9           186.                                                                                   , id.

10   at 114:12-116:2; 117:13-118:1,                                                                 .

11   Id. at 123:14-124:6.

12          187.

13

14                                                            PX74 (Casanova (Apple) Dep.) at

15   111:16-112:18.

16          188.                                                          . Id. at 119:2-5.

17          189.    In July 2021, Meta and Within entered into a non-binding term sheet. PX62

18   (Milk (Within) Dep.) at 129:2-14.

19          190.    Two months later, however, there was a “hiccup” in the negotiations regarding

20   the purchase price,                                                      ” PX66 (Rubin (Meta)

21   Dep.) at 128:4-12; PX123 (Meta) at 1.

22          191.    In response, after seeking guidance from Mr. Zuckerberg, Meta

23

24            PX123 (Meta) at 1; PX66 (Rubin (Meta) Dep.) at 158:3-162:22; PX560 (Meta) at 2.

25          192.    That included the option to build a fitness-focused app based on Beat Saber.

26   PX123 (Meta) at 2; PX66 (Rubin (Meta) Dep.) at 162:18-22.

27          193.

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1           . PX54 (Bosworth (Meta) Dep.) at 210:17-21.

2           194.    The purchase price is more than             the amount of money Within spent to

3    develop Supernatural and build it into                 VR dedicated fitness app. PX2 at 1; PX54

4    (Bosworth (Meta) Dep.) at 164:4-15.

5           195.    Meta could have built its own VR dedicated fitness app for less than the

6           it proposes to spend to acquire Within. PX54 (Bosworth) (Meta) Dep.) at 210:17-21.

7           196.    Buying Within was not the only way Meta could have developed the production

8    capabilities and expertise needed to create a premium VR fitness experience. PX54 (Bosworth

9    (Meta) Dep.) at 174:23-175:2.

10          197.

11                                            PX50 (Zuckerberg (Meta) Dep.) at 240:19-241:3;

12   PX384 (Meta) at 1.

13          198.    Meta has identified

14

15                                                                                 ” PX54 (Bosworth

16   (Meta) Dep.) at 161:1-13; see also PX413 (Meta) at 2 (

17

18                                ”).

19          L.      VR Dedicated Fitness Is Characterized by High Barriers to Entry

20          199.    Building a successful VR dedicated fitness app requires

21                                                                                         lity.

22   PX667 (Within) at 60; PX5 (Within) at 18 (“

23                                                      ”); PX712 (Within) at 48 (“

24                                                                            ”); PX111 (Meta) at 1

25   (“                                                                                ”); PX65

26   (Koblin (Within) Dep.) at 36:9-17; PX62 (Milk (Within) Dep.) at 17-19, 36:13-37:16.

27          200.    Building a high-quality entrant also requires “

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1                                                                               ” PX118 (Meta) at 1;

2    see also PX527 (Meta) at 3 (“

3                                     ”); PX52 (Stojsavljevic (Meta) Dep. at 115:24-116:5 (

4                                                                             ”) & 119:9-120:4

5    (                                                 ).

6           201.     Moreover, inclusion on the Quest Store itself is a significant barrier to entry over

7    which Meta exercises total control. Infra Findings of Fact ¶¶ 202-212.

8           202.     The Quest Store provides huge discoverability benefits to apps that are published

9    to it. PX53 (Pruett (Meta) Dep.) at 124:11-125:19.

10          203.     Prior to appearing on the Quest Store, apps must meet certain technical

11   requirements,

12   PX53 (Pruett (Meta) Dep.) at 31:4-17.

13          204.     That is because Meta

14

15                                        PX276 (Meta) at 1; see also PX53 (Pruett (Meta) Dep.) at

16   51:5-20 (

17                                                    ) & 59:11-60:23.

18          205.     Through “uniqueness,” Meta is trying to evaluate whether apps are sufficiently

19   differentiated from apps already in the Quest Store. PX53 (Pruett (Meta) Dep.) at 61:16-23.

20          206.                                                               PX53 (Pruett (Meta)

21   Dep.) at 161:14-16, 281:15-23; PX246 (Meta) at 1 (“

22

23                                                     ”).

24          207.     When it comes to Meta’s curation of the Quest Store,

25                                                                  PX56 (Carmack (Meta) Dep.) at

26   19:17-20:8 (

27

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1                              ”); see also PX53 (Pruett (Meta) Dep.) at 72:15-73:1, 74:5-8, 95:15-18;

2    PX465 (Meta) at 3 (“

3                                                                              ”).

4           208.      Even in instances where Meta permits an app to list on the Quest Store, the

5    process is uncertain and cumbersome because “

6                  ” PX56 (Carmack (Meta) Dep.) at 22:24-25.

7           209.

8          ” PX145 (Meta) at 1; see also PX56 (Carmack (Meta) Dep. at 17:24-18:1 (“

9                                                                                       ”).

10          210.      Meta also controls which apps are placed in “             ” on the Quest Store.

11   PX56 (Carmack (Meta) Dep.) at 24:16-25:1.

12          211.      Placement in featured slots improves an app’s uptake and growth. PX56

13   (Carmack (Meta) Dep.) at 24:21-25:1 (“

14

15                                                                                ”).

16          212.      Indeed, when negotiating this deal,

17

18                                                                           ” PX62 (Milk (Within)

19   Dep.) at 146:15-147:6) (“

20

21                           ”); see also PX731 (Within) at 1 (“                              ”).

22          213.      Meta has recognized that VR fitness apps                                 . PX135

23   (Meta) at 3 (“

24                                ”); PX57 (Dass (Meta) Dep.) at 64:8-18; PX136 (Meta) at 11

25   (“

26

27                                                  ”).

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1           214.    Meta intends to

2                                 PX63 (Rabkin (Meta) Dep.) at 171:19-172:2 (“

3

4

5                                       ”) & 188:21-189:5.

6                    PLAINTIFF FTC’S PROPOSED CONCLUSIONS OF LAW

7           1.      Section 7 of the Clayton Act prohibits mergers when “the effect of such

8    acquisition may be substantially to lessen competition, or to tend to create a monopoly.” 15

9    U.S.C. § 18.

10          2.      Section 7 analysis “necessarily focuses on ‘probabilities, not certainties.’” St.

11   Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys. Ltd, 778 F.3d 775, 783 (9th Cir.

12   2015) (quoting Brown Shoe Co. v. United States, 370 U.S. 294, 323 (1962)).

13          3.      This entails “‘a prediction of [the merger’s] impact upon competitive conditions

14   in the future; this is what is meant when it is said that the amended § 7 was intended to arrest

15   anticompetitive tendencies in their incipiency.’” Id. (quoting United States v. Phila. Nat’l Bank,

16   374 U.S. 321, 362 (1963)).

17          4.      Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Federal Trade

18   Commission, whenever it has reason to believe that a proposed merger is unlawful, to seek

19   preliminary injunctive relief to prevent consummation of a merger until the Commission has the

20   opportunity to adjudicate the merger’s legality in an administrative proceeding.

21          5.      Specifically, Section 13(b) “allows a district court to grant the Commission a

22   preliminary injunction ‘[u]pon a proper showing that, weighing the equities and considering the

23   Commission’s likelihood of ultimate success, such action would be in the public interest.’” FTC

24   v. Affordable Media, LLC, 179 F.3d 1228, 1233 (9th Cir. 1999) (quoting 15 U.S.C. § 53(b)).

25          6.      The statute “places a lighter burden on the Commission than that imposed on

26   private litigants by the traditional equity standard.” FTC v. Warner Commc’ns Inc., 742 F.2d

27   1156, 1159 (9th Cir. 1984). FTC v. Lancaster Colony Corp., 434 F. Supp. 1088, 1096 (S.D.N.Y.

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1    1977) (“The equities to be weighed here are not the usual equities of private litigation but public

2    equities.”).

3            7.     “Under this more lenient standard, ‘a court must 1) determine the likelihood that

4    the Commission will ultimately succeed on the merits and 2) balance the equities.’” Affordable

5    Media, 179 F.3d at 1233 (quoting Warner Commc’ns, 742 F.2d at 1160).

6            8.     In weighing the equities under § 13(b), “public equities receive far greater

7    weight.” Warner Commc’ns, 742 F.2d at 1165.

8            9.     Public equities include effective enforcement of the antitrust laws and ensuring

9    the Commission’s ability to obtain adequate relief if it ultimately prevails on the merits. Id.

10           10.    Preliminary injunctions under § 13(b) “are meant to be readily available to

11   preserve the status quo while the FTC develops its ultimate case.” FTC v. Whole Foods Mkt.,

12   Inc., 548 F.3d 1028, 1036 (D.C. Cir. 2008); FTC. v. Food Town Stores, Inc., 539 F.2d 1339,

13   1342 (4th Cir. 1976) (“The only purpose of a proceeding under § 13 is to preserve the status quo

14   until FTC can perform its function.”).

15           11.    The FTC has shown that it is likely to succeed on the merits of its Section 7

16   challenge in the agency’s administrative court, and the equities favor issuing a preliminary

17   injunction.

18           A.      The FTC Is Likely to Succeed on the Merits of Its Section 7 Challenge

19           12.    In evaluating the FTC’s likelihood of success on the merits, courts consider the

20   FTC’s ability to prove that the effect of the Acquisition “may be substantially to lessen

21   competition, or to tend to create a monopoly” in violation of Section 7 of the Clayton Act.

22   Warner Commc’ns, 742 F.2d at 1160 (emphasis in original) (“It is well established that a

23   section 7 violation is proven upon a showing of reasonable probability of anticompetitive

24   effect”).

25           13.    The Ninth Circuit has explained that the “Commission meets its burden if it

26   ‘raise[s] questions going to the merits so serious, substantial, difficult and doubtful as to make

27   them fair ground for thorough investigation, study, deliberation and determination by the FTC

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1    in the first instance and ultimately by the Court of Appeals.’” Warner Commc’ns, 742 F.2d at

2    1162 (alteration in original) (quoting FTC v. Nat’l Tea Co., 603 F.2d 694, 698 (8th Cir. 1979));

3    see also Whole Foods Mkt., 548 F.3d at 1036 (“[A]t this preliminary phase [the FTC] just has to

4    raise substantial doubts about a transaction. One may have such doubts without knowing exactly

5    what arguments will eventually prevail.”).

6           14.     Because the issue is a “narrow one,” the court “do[es] not resolve the conflicts in

7    the evidence, compare concentration ratios and effects on competition in other cases, or

8    undertake an extensive analysis of the antitrust issues.” Warner Commc’ns, 742 F.2d at 1164;

9    see also California v. Am. Stores Co., 872 F.2d 837, 841 (9th Cir. 1989) (“At this stage, we do

10   not resolve conflicts in the evidence.”), rev’d on other grounds, California v. Am. Stores Co.,

11   495 U.S. 271 (1990); FTC v. H.J. Heinz Co., 246 F.3d 708, 714 (D.C. Cir. 2001) (the FTC “is

12   not required to establish that the proposed merger would in fact violate Section 7” (emphasis in

13   original)); FTC v. CCC Holdings Inc., 605 F. Supp. 2d 26, 67 (D.D.C. 2009) (“the district

14   court’s task is not ‘to determine whether the antitrust laws have been or are about to be violated.

15   That adjudicatory function is vested in the FTC in the first instance’” (quoting Whole Foods

16   Mkt., 548 F.3d at 1042 (Tatel, J., concurring))).

17          15.     Rather, this Court’s task is only to “measure the probability that, after an

18   administrative hearing . . . the Commission will succeed in proving that the effect of the

19   [proposed] merger ‘may be substantially to lessen competition, or to tend to create a monopoly’

20   in violation of section 7.” H.J. Heinz, 246 F.3d at 714 (quoting 15 U.S.C. § 18).

21          16.     The Supreme Court has recognized that Section 7 of the Clayton Act prohibits

22   the elimination of potential competition as well as present competition. E.g., United States v.

23   Falstaff Brewing Corp., 410 U.S. 526, 531-32 (1973); see also United States v. Marine

24   Bancorp., Inc., 418 U.S. 602, 623-25 (1974).

25          17.     Courts have recognized two distinct types of anticompetitive harm that can occur

26   from mergers that eliminate potential competition in a concentrated relevant market.

27          18.     First, a merger can lessen “actual potential competition,” when it eliminates a

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1    firm that is reasonably probable to enter the relevant market through alternative means absent

2    the illegal acquisition. See United States v. Phillips Petrol. Co., 367 F. Supp. 1226, 1232 (C.D.

3    Cal. 1973), aff’d, Phillips Petrol. Co. v. United States, 418 U.S. 906 (1974) (describing the

4    harm to competition that may arise from the loss of an “entry effect”); see also Yamaha Motor

5    Co. Ltd. v. FTC, 657 F.2d 971, 977-79 (8th Cir. 1981).

6           19.     Second, a merger can lessen “perceived potential competition” when it

7    eliminates “a potential competitor on the fringe of the market with likely influence on existing

8    competition.” Falstaff Brewing, 410 U.S. at 533-34.

9           20.     Where, as here, an acquisition eliminates both a perceived potential competitor

10   and an actual potential competitor, the “combination renders the anticompetitive consequences

11   of the acquisition even greater.” Phillips Petrol., 367 F. Supp. at 1234.

12          21.     The Acquisition is likely to result in anticompetitive harm by lessening

13   competition in the VR Dedicated Fitness App market, where Within’s Supernatural is

14                in a highly concentrated market. Infra Conclusions of Law ¶¶ 59-67.

15          22.     The proposed Acquisition will preclude Meta’s reasonably probable entry

16   through alternative means, thereby denying consumers the benefit of adding another effective

17   competitor to the market. Infra Conclusions of Law ¶¶ 69-92; see Yamaha Motor, 657 F.2d at

18   977-79; Phillips Petrol. Co., 367 F. Supp. at 1232.

19          23.     The proposed Acquisition will also eliminate the current procompetitive

20   influence on existing competition that Meta’s threat of potential entry provides from the edge of

21   the market. Infra Conclusions of Law ¶¶ 93-110; Marine Bancorp., 418 U.S. at 624-25; Falstaff

22   Brewing, 410 U.S. at 533-34; Phillips Petrol., 367 F. Supp. at 1232-34.

23          24.     Few firms are comparably situated to Meta with respect to entry into the VR

24   Dedicated Fitness App market, and new entry or expansion is unlikely to be sufficient to offset

25   the competitive harm of the proposed Acquisition. Infra Conclusions of Law at ¶¶ 111-115. See,

26   e.g., United States v. Bazaarvoice, Inc., No. 13-cv-00133, 2014 WL 203966, at *71 (N.D. Cal.

27   Jan. 8, 2014) (noting that it is the defendants’ burden to show that alternative entry will be

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1    timely, likely, and sufficient in magnitude and character to deter or counteract the competitive

2    effects of concern).

3                  1. The Relevant Market Is the Sale of VR Dedicated Fitness Apps in the United

4                     States

5            25.      “Determination of the relevant product and geographic markets is a necessary

6    predicate to deciding whether a merger contravenes the Clayton Act.” St. Alphonsus Med. Ctr.-

7    Nampa, Inc. v. St. Luke’s Health Sys. Ltd., 778 F.3d 775, 783 (9th Cir. 2015).

8            26.      This is true whether the merger is alleged to have anticompetitive effects on

9    existing competition or on potential competition. Marine Bancorp., 418 U.S. at 618.

10           27.      In defining relevant product markets (a term of art in antitrust law), courts often

11   evaluate “such practical indicia as industry or public recognition of the [relevant market] as a

12   separate economic entity, the product’s peculiar characteristics and uses, unique production

13   facilities, distinct customers, distinct prices, sensitivity to price changes, and specialized

14   vendors.” Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962); accord Klein v.

15   Facebook, Inc., 580 F. Supp. 3d 743, 766-67 (N.D. Cal. 2022); Dang v. San Francisco Forty

16   Niners, 964 F. Supp. 2d 1097, 1107 (N.D. Cal. 2013).

17           28.      “The relevant geographic market is the area of effective competition where

18   buyers can turn for alternate sources of supply.” St. Alphonsus, 778 F.3d at 784 (internal

19   quotation marks omitted).

20           29.      “Put differently, a relevant market is the group of sellers or producers who have

21   the actual or potential ability to deprive each other of significant levels of business.” Id.

22   (internal quotation marks omitted).

23           30.      “Relevant markets need not have precise metes and bounds.” Pac. Steel Grp. v.

24   Comm. Metals Co., No. 20-CV-07683, 2022 WL 1225030, at *7 (N.D. Cal. Apr. 26, 2022).

25           31.      Both the Brown Shoe practical indicia and the Hypothetical Monopolist Test

26   (“HMT”) demonstrate that VR dedicated fitness apps, like Within’s Supernatural app, are an

27   appropriate relevant product market in which to evaluate the Acquisition.

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1           32.     VR dedicated fitness apps are designed so users can exercise through a structured

2    physical workout in a virtual setting anywhere they choose to use their highly portable VR

3    headset. Supra Findings of Fact ¶¶ 74-86.

4           33.     Typical characteristics of VR dedicated fitness apps include workouts designed

5    by trainers or fitness experts, gameplay designed to maximize exertion and physical movement

6    for the purpose of exercise, calorie tracking, and classes or other active coaching. Supra

7    Findings of Fact ¶¶ 76-79.

8           34.     In this way, VR dedicated fitness apps feature “peculiar characteristics and uses”

9    that distinguish them from other VR apps. See Brown Shoe, 370 U.S. at 325.

10          35.     They are also distinct from other VR apps in other ways consistent with the

11   Brown Shoe factors: They typically offer distinct prices as compared to other VR apps—

12   specifically, a subscription-based pricing model as compared to a one-time fee, and their

13   distinct customer base is differentiated from other apps in terms of both age (older) and gender

14   (more female). Supra Findings of Fact ¶¶ 80-81, 86.

15          36.     Thus, it is not surprising that Meta and Within themselves recognize a separate

16   and distinct category of VR dedicated fitness apps. Supra Findings of Fact ¶ 74.

17          37.     Moreover, functional, technological, and price differences consistent with the

18   Brown Shoe practical indicia also show that non-VR at-home smart fitness solutions and at-

19   home exercise products are distinct from VR dedicated fitness apps.

20          38.     Unlike other at-home smart fitness solutions and exercise products, VR

21   dedicated fitness apps enable users to exercise in fully immersive, 360-degree environments;

22   they are also fully portable and take up little space. Supra Findings of Fact ¶¶ 82-84.

23          39.     They are also far less expensive; a Peloton bicycle costs over $1,000, with an

24   additional $44 per month subscription cost, compared to $399 for Meta’s Quest 2 plus $18.99

25   per month for Supernatural. PX15 (Singer Rep.) ¶ 68; supra Findings of Fact ¶ 86.

26          40.     Meta’s and Within’s own documents

27

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1                                                                                               . Supra

2    Findings of Fact ¶¶ 88-89.

3           41.     Lastly, the VR Dedicated Fitness App market satisfies the HMT, further

4    confirming it is an appropriate relevant product market in which to evaluate the effects of the

5    Acquisition. PX15 (Singer Rep.) ¶¶ 29-35, 49-69.

6           42.     This test asks whether a hypothetical monopolist could profitably impose at least

7    a small but significant and nontransitory increase in price (“SSNIP”) on a collection of

8    products, including at least one product sold by one of the merging firms. See U.S. Dep’t of

9    Justice & FTC Horizontal Merger Guidelines (“Guidelines”) (2010) § 4.1.2.

10          43.     Dr. Hal Singer, the FTC’s expert economist, conducted a consumer survey to

11   evaluate how Supernatural users would respond to a SSNIP on Supernatural and other VR

12   Dedicated Fitness products. PX15 (Singer Rep.) ¶¶ 49-69.

13          44.     Dr. Singer’s survey showed that over 95% of Supernatural users would keep

14   their Supernatural subscriptions in response to a SSNIP on Supernatural or all VR dedicated

15   fitness apps. Id. ¶¶ 63-64, Table 1.

16          45.     These results, combined with the margins for VR dedicated fitness products,

17   indicate that a hypothetical monopolist could profitably impose a SSNIP on VR dedicated

18   fitness apps, and therefore that VR dedicated fitness apps constitute an appropriate and relevant

19   antitrust market. Id. ¶¶ 49-69.

20          46.     The United States is an appropriate relevant geographic market in which to

21   assess the probable effects of the proposed Acquisition. Id. ¶¶ 70-73.

22          47.     The relevant geographic market is the region in which “consumers can

23   practically turn for alternative sources of the product and in which the antitrust defendant faces

24   competition.” FTC v. Staples Inc., 970 F. Supp. 1066, 1073 (D.D.C. 1997).

25          48.     As the Supreme Court has explained, the relevant geographic market must

26   “correspond to the commercial realities of the industry” as determined by a “pragmatic, factual,

27   approach.” Brown Shoe, 370 U.S. at 336.

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1            49.      While “technology knows no borders,” the “area of effective competition” is the

2    United States because the “realities of selling” differ across national borders including

3    differences in regulatory regimes, intellectual property licensing, languages, and availability.

4    Bazaarvoice, Inc., 2014 WL 203966, at **27, 68.

5            50.      Due to                                  , Supernatural is currently available only

6    in the U.S. and Canada; moreover, Oculus Quest headsets have a dynamic region lock, such that

7    a user’s geolocation determines content availability and prices. Supra Findings of Fact ¶ 94.

8            51.      Given these commercial realities, the United States is an appropriate relevant

9    geographic market in which to analyze the likely effects of the Acquisition.

10                 2. The Acquisition May Substantially Lessen Competition in the VR Dedicated

11                    Fitness App Market

12           52.      Section 7 of the Clayton Act prohibits transactions where “the effect of such

13   acquisition may be substantially to lessen competition, or tend to create a monopoly” regardless

14   of whether the competition eliminated is present or potential. See, e.g., Falstaff Brewing, 410

15   U.S. at 527 n.1 (quoting 15 U.S.C. § 18).

16           53.      “The potential-competition doctrine has meaning only as applied to concentrated

17   markets.” Marine Bancorp., 418 U.S. at 630.

18           54.      “If the target market performs as a competitive market in traditional antitrust

19   terms, the participants in the market will have no occasion to fashion their behavior to take into

20   account the presence of a potential entrant.” Id.

21           55.      The government can make a prima facie showing that a market is concentrated

22   based on market-share statistics alone. Id. at 631; Tenneco, Inc. v. FTC, 689 F.2d 346, 352 (2d

23   Cir. 1982) (“Four-firm concentration was over 90% and two-firm concentration was over 77%.

24   . . . This fact alone ‘established a prima facie case that the . . . market was a candidate for the

25   potential-competition doctrine.’” (quoting Marine Bancorp., 418 U.S. at 631)).

26           56.      For a theory of anticompetitive harm based on actual potential competition, the

27   government must additionally show that the merger would eliminate a firm that is reasonably

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1    probable to enter the relevant market through alternative means. See, e.g., Phillips Petroleum,

2    367 F. Supp. at 1239 (determining Phillips was a likely unilateral entrant based on its size,

3    resources, capability, and motivation with respect to entry into an “adjacent attractive market”);

4    BOC Int’l Ltd. v. FTC, 557 F.2d 24, 29 n.7 (2d Cir. 1977) (requiring only a reasonable

5    probability that the acquiring firm would enter the relevant market).

6           57.     For perceived potential competition, the question is whether the merger would

7    eliminate “a potential competitor on the fringe of the market with likely influence on existing

8    competition.” Falstaff Brewing, 410 U.S. at 533-34.

9           58.     That the market may be an emerging one poised for rapid growth might make it

10   particularly susceptible to antitrust harm. Bazaarvoice, 2014 WL 203966 at *76 (“rapid

11   technological progress may provide a climate favorable to increased concentration of market

12   power rather than the opposite.”) (quoting Greyhound Computer Corp., Inc. v. Int’l Bus.

13   Machines Corp., 559 F.2d 488, 497 (9th Cir. 1977)); In re Union Carbide Corp., 59 F.T.C. 614,

14   1961 WL 65409, at *35 (Sept. 25, 1961) (“Any lessening of competition is therefore doubly

15   harmful in a new industry since its inevitable effect is to slow down the growth rate of the

16   industry.”).

17                  a) The VR Dedicated Fitness App Market Is Concentrated

18          59.     The VR Dedicated Fitness App market more than satisfies the requirement of a

19   concentrated market.

20          60.     The potential competition doctrine “has meaning only as applied to concentrated

21   markets.” Marine Bancorp. 418 U.S. 602, 630-31; Falstaff, 410 U.S. at 539-40 (“one of the

22   principal purposes of § 7 was to stem the rising tide of concentration”).

23          61.     A plaintiff can establish a market is concentrated through the use of market share

24   statistics. Marine Bancorp., 418 U.S. at 631 (“by introducing evidence of concentration ratios of

25   the magnitude of those present here the Government established a prima facie case that the

26   Spokane market was a candidate for the potential competition doctrine.”).

27          62.     A common metric for evaluating market concentration is the Herfindahl-

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1    Hirschman Index (“HHI”). St. Alphonsus, 778 F.3d at 786; Optronic Techs., Inc. v. Ningbo

2    Sunny Elec. Co., 414 F. Supp. 3d 1256, 1263-64 (N.D. Cal. 2019) (Davila, J.).

3           63.      HHI figures are calculated by summing the squares of the market share of each

4    market participant. Guidelines § 5.3.

5           64.      According to the Guidelines, a market is considered “moderately concentrated”

6    when the HHI exceeds 1500, and “highly concentrated” when the HHI exceeds 2500. Id.

7           65.      The level of market concentration in the VR Dedicated Fitness App market

8    greatly exceeds what is required for the potential competition doctrine to apply, with two

9    applications—                                                            of the market’s revenues.

10   PX15 (Singer Rep.) ¶¶ 75-76, Table 2-A; see also, e.g., Yamaha Motor, 657 F.2d at 974 (top

11   four firms accounted for 98.6 percent and top two for 85 percent of the relevant market);

12   Phillips Petrol., 367 F. Supp. at 1253 (top four accounted for 58 percent).

13          66.      The HHI for the VR Dedicated Fitness App market is currently over            —well

14   above the threshold for a market to be considered “highly concentrated” under the Horizontal

15   Merger Guidelines. PX15 (Singer Rep.) ¶ 76.

16          67.      The market concentration here, combined with the overall market structure,

17   makes this market particularly appropriate for applying the potential competition doctrine. See

18   e.g., Marine Bancorp. 418 U.S. 602, 630-31; Falstaff, 410 U.S. at 539-40.

19          68.      Due to network effects and Meta’s unique powers from its operation and control

20   of the dominant VR platform, see Findings of Fact ¶¶ 199-214, the need to preserve the

21   potential for deconcentration is especially acute here. Cf. Polygram Holding v. FTC, 416 F.3d

22   29, 37 (D.C. Cir. 2005) (“as economic learning and market experience evolve,” so does antitrust

23   analysis).

24                   b) It Is Reasonably Probable That Meta Would Enter the Market Through

25                      Other Means Absent the Acquisition, Leading to Procompetitive Effects

26          69.      The Supreme Court has stated that “[t]wo essential preconditions must exist

27   before it is possible to resolve whether the [actual potential competition] theory, if proved,

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1    establishes a violation of § 7”: (1) the acquiring firm has “available feasible means” for entering

2    the market and (2) “that those means offer a substantial likelihood of ultimately producing

3    deconcentration of that market or other significant procompetitive effects.” Marine Bancorp.,

4    418 U.S. at 633.

5           70.     Subsequent courts analyzing claims based on a theory of harm to actual potential

6    competition have interpreted Marine Bancorp.to require a showing that there is a reasonable

7    probability the acquiring firm would have entered the market but for the proposed acquisition,

8    and that its entry would have had pro-competitive effects. E.g., Yamaha Motor, 657 F.2d at 977;

9    Tenneco, 689 F.2d at 352 (assessing whether Yamaha “probably” would have entered

10   independently); see also Phillips Petrol., 367 F. Supp. at 1256-57 (determining Phillips is the

11   “most likely potential entrant”); BOC Int’l 557 F.2d at 29 n.7.

12          71.     A firm “must be considered to be a significant potential entrant” “where credible

13   objective evidence shows the basic economic facts of the acquiring company’s overall size,

14   resources, capability, and motivation with respect to entry into an adjacent attractive market

15   involving a line of commerce in which the firm is already heavily engaged.” Phillips Petrol.,

16   367 F. Supp. at 1239.

17          72.     Importantly, the inquiry focuses on objective evidence. Id. (subjective evidence,

18   like testimony from company executives about their intentions, “while relevant and entitled to

19   consideration, cannot be determinative in evaluating the legality of the acquisition under § 7. If

20   strong objective evidence points to a contrary conclusion, the objective evidence must prevail”);

21   see also Falstaff Brewing, 410 U.S. at 546 (“subjective evidence should be preferred only when

22   the objective evidence is weak or contradictory.”) (Marshall, J., concurring).

23          73.     The standard is one of reasonable probability given that “[u]nequivocal proof

24   that an acquiring firm actually would have entered de novo but for a merger is rarely available.”

25   Marine Bancorp., 418 U.S. at 624; accord BOC Int’l Ltd. v. FTC, 557 F.2d 24, 29 n.7 (2d Cir.

26   1977) (“In view of the ample express authority, including congressional authority, in favor of a

27   reasonable probability standard . . . we decline to adopt any more stringent standard here.”).

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1           74.     Objective evidence regarding Meta’s “overall size, resources, capability, and

2    motivation with respect to entry” demonstrate a reasonable probability that Meta would have

3    entered the VR Dedicated Fitness App market but for the Acquisition.

4           75.     Meta is a massive technology company with ample resources to develop a VR

5    dedicated fitness app on its own, either by creating a new app from scratch; by adding dedicated

6    fitness features, like trainers and coaching, to an existing app like Beat Saber; or by acquiring a

7    generalist studio that could supplement Meta’s formidable first-party studios in creating such an

8    app. Supra Findings of Fact ¶¶ 161-176.

9           76.     Mr. Zuckerberg has made VR and the metaverse the cornerstone of Meta’s

10   future, and Meta has spent tens of billions of dollars and hired thousands of engineers to achieve

11   his vision. Supra Findings of Fact ¶¶ 21-27, 70-73.

12          77.     In addition to ample resources, Meta also has the capabilities to develop a VR

13   dedicated fitness app. Supra Findings of Fact ¶¶ 44-50, 194-197.

14          78.     The company has successfully developed its own VR applications, including the

15   productivity app Horizon Workrooms, Horizon Worlds (which, notably, Meta elected to build

16                                                    ), and the gaming app Dead and Buried, among

17   others. Supra Findings of Fact ¶¶ 44-50.

18          79.     Meta also produced and publicly released a “bespoke” fitness track for Beat

19   Saber called “FitBeat,” and developed certain features and products that make the Oculus more

20   appealing for fitness-focused users, including Oculus Move and the Quest 2 Active Pack. Supra

21   Findings of Fact ¶¶ 113, 131-134.

22          80.     Meta has the motivation to enter the VR Dedicated Fitness App market because

23   VR “fitness is retentive,”                                                  and attracts a diverse

24   demographic, including more women and older users. Supra Findings of Fact ¶¶ 101-110.

25          81.     Indeed, part of Meta’s rationale for acquiring Beat Games in 2019 was

26                            . Supra Findings of Fact ¶ 124.

27          82.     Although it is not necessary in this case, subjective evidence demonstrates that

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1    Meta itself had the intentions to enter—and thus was a reasonably probable entrant into—the

2    VR Dedicated Fitness App market. Supra Findings of Fact ¶¶ 149-182.

3           83.     Prior to deciding to acquire                   , Supernatural, Meta was in the

4    midst of “                                       ” and exploring multiple paths to entry. Supra

5    Findings of Fact ¶¶ 151-182.

6           84.     Those included “expanding Beat Saber to deliberate fitness,” either through

7                                                  , and/or by building out the Beat Saber app

8    organically,

9                                                  ” Supra Findings of Fact ¶¶ 161-165.

10          85.     In the second quarter of 2022, Meta did, in fact, buy a development studio,

11   Armature Studio, which Meat believed was “

12                    ” PX527 (Meta) at 8; PX52 (Stojsavljevic (Meta) Dep.) at 136:24-137:23.

13          86.     When apprised of these efforts, Mr. Zuckerberg exclaimed: “

14

15          ” PX118 (Meta) at 1.

16          87.     Given its unique advantages and capabilities, Meta’s independent entry into the

17   VR Dedicated Fitness App market—derailed by the Acquisition—would have provided U.S.

18   customers an innovative alternative likely to result in significant deconcentration and

19   procompetitive benefits, including by, among other things, introducing a strong, well-

20   established new rival to Supernatural             . See, e.g., Yamaha Motor, 657 F.2d at 979

21   (“Any new entrant of Yamaha’s stature would have had an obvious procompetitive effect

22   leading to some deconcentration.”).

23          88.     Even more so than the defendant in Yamaha, Meta is a well-established

24   international firm “with considerable financial strength” and “considerable marketing

25   experience in the United States,” Yamaha, 657 F.2d at 979, such that its entry “would have had

26   an obvious procompetitive effect” in the VR Dedicated Fitness App market. See id.

27          89.     This entry would increase consumer choice, increase innovation, spur additional

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1    competition to attract the best talent, and yield a host of other competitive benefits.

2           90.       By way of contrast, the Acquisition would simply swap an already “powerful

3    acquiring firm” for the current market leader, potentially entrenching its existing position. FTC

4    v. Procter & Gamble Co., 386 U.S. 568, 578 (1967).

5           91.       Crucially, Meta’s independent entry would add a new player to the mix while

6    also maintaining the independent presence and competitive vitality of Supernatural,

7                 VR dedicated fitness app to date.

8           92.       Consumers will lose the benefit of this competition if the Acquisition proceeds.

9                     c) Within Reasonably Perceived Meta as a Potential Entrant, and Meta’s

10                       Presence on the Edge of the Market Likely Benefits Competition

11          93.       The proposed Acquisition may also substantially lessen competition through the

12   elimination of Meta as a perceived potential competitor on the edge of the relevant market with

13   a likely procompetitive influence on competition. See, e.g., Phillips Petrol., 367 F. Supp. at

14   1232-34.

15          94.       Probabilistic proof of “likely influence” on existing competitors is sufficient;

16   proof of “actual influence” is not necessary. Falstaff Brewing, 410 U.S. at 534 & n.13; see also

17   United States v. Black & Decker Mfg. Co., 430 F. Supp. 729, 773 (D. Md. 1976) (“the

18   government need not introduce evidence of actual market response”).

19          95.       The “same facts” that a district court must assess in determining a Clayton Act

20   violation based on actual potential competition are “probative of [a] violation of [§] 7 through

21   loss of a procompetitive on-the-fringe influence.” Falstaff Brewing, 410 U.S. at 534 n.13;

22   accord Phillips Petrol., 367 F. Supp. at 1255.

23          96.       To determine if a merger ultimately violates Section 7, “the question . . . is not

24   what [the Acquiring company’s] internal company decisions were, but whether, given its

25   financial capabilities and conditions in [the relevant] market, it would be reasonable to consider

26   it a potential entrant in that market.” Id. at 533; see also Phillips Petrol. 367 F. Supp. at 1255

27   (noting that evidence of a likely influence on existing competition “may be shown by direct

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1    evidence as well as by inference from objective economic facts” including “objective evidence

2    of capability and motivation” to enter the market at issue).

3           97.     Notably, in perceived potential competition case, a merger can lessen

4    competition “even if it were assumed that the potential competitor would not actually have

5    entered the market.” Phillips Petrol., 367 F. Supp. at 1234.

6           98.

7                                                           “a potential competitor on the fringe of the

8    market.” Supra Findings of Fact ¶¶ 135-141, 144-148; see Falstaff Brewing, 410 U.S. at 534.

9           99.     Moreover,

10                                                                                              Supra

11   Findings of Fact ¶ 142.

12          100.    Irrespective of Within’s subjective beliefs, objective evidence further supports

13   that it was reasonable for Within to perceive Meta as a potential entrant. See Phillips Petrol.,

14   367 F. Supp. at 1255.

15          101.    Meta’s Beat Saber, the leading application on the Meta Quest Store, employs the

16   same mechanics as Supernatural, and is widely recognized as providing incidental fitness

17   benefits. Supra Findings of Fact ¶¶ 119-121.

18          102.    Further, Meta took steps to expand Beat Saber into the dedicated fitness space by

19   releasing “FitBeat” in April 2020. Supra Findings of Fact ¶¶ 131-133.

20          103.    Meta’s presence on the edge of the VR Dedicated Fitness App market provided

21   procompetitive benefits that will be eliminated if the Acquisition is consummated. See Falstaff

22   Brewing, 410 U.S. at 534; Phillips Petrol., 367 F. Supp. at 1232-34.

23          104.    Within acknowledges that it must innovate and continually improve its product

24   to distance itself from potential competition. Supra Findings of Fact ¶¶ 143-148.

25          105.

26                                                                     Supra Findings of Fact ¶¶ 143-

27   148.

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1           106.

2

3                                                                   PX615 (Within) at 8-9.

4           107.

5

6                                   PX712 (Within) at 48.

7           108.    That Within did take into account potential entry confirms that the VR Dedicated

8    Fitness App market is the type of market suited for the potential competition doctrine. Marine

9    Bancorp., 418 U.S. at 631 (“If the target market performs as a competitive market in traditional

10   antitrust terms, the participants in the market will have no occasion to fashion their behavior to

11   take into account the presence of a potential entrant.” (emphasis added)).

12          109.    In sum, Meta’s position as a potential entrant on the edge of the market has a

13   likely beneficial effect on competition that will be lost if Meta acquires Within. See Falstaff

14   Brewing, 410 U.S. at 534; Phillips Petrol., 367 F. Supp. at 1232-34.

15          110.    This loss of perceived potential competition, coupled with the loss of actual

16   potential competition, “renders the anticompetitive consequences of the acquisition even

17   greater.” Phillips Petrol., 367 F. Supp. at 1234.

18              3. Defendants Have Failed to Rebut the FTC’s Case

19          111.    Defendants cannot demonstrate that entry will be timely, likely, and sufficient,

20   see Bazaarvoice, 2014 WL 203966, at *71, or that there are cognizable merger-specific

21   efficiencies, to prevent the Acquisition’s anticompetitive effects.

22          112.    The VR Dedicated Fitness App market is characterized by high barriers to entry.

23   Supra Findings of Fact ¶¶ 199-214.

24          113.    Building a successful VR dedicated fitness app requires

25

26                                                       Supra Findings of Fact ¶¶ 199-200.

27          114.    Indeed,

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1             are an acknowledgement that it is difficult to build a successful VR dedicated fitness

2    app. See PX50 (Zuckerberg (Meta) Dep.) at 154:3-155:21 (

3

4    Quest); Id. at 156:21-157:24 (

5           ); PX54 (Bosworth (Meta) Dep.) at 161:4-6 (“

6                                                                                     ”).

7           115.    Moreover, inclusion on the Quest Store itself and other advantages of owning the

8    VR platform are significant barriers to entry over which Meta exercises total control. Supra

9    Findings of Fact at ¶¶ 201-214; see also PX50 (Zuckerberg (Meta) Dep.) at 154:20-21 (

10                                             ”).

11          116.    The “Supreme Court has never expressly approved an efficiencies defense to a §

12   7 claim,” and the Ninth Circuit has stated that it “remain[s] skeptical about the efficiencies

13   defense in general and about its scope in particular.” St. Alphonsus, 778 F.3d at 788-89.

14          117.     No meaningful efficiencies defense has been presented here:

15

16

17                                          ” PX54 (Bosworth (Meta) Dep. at 161:1-13).

18          118.    Following acquisition, businesses are integrated into Meta, and Meta has

19   represented for every VR acquisition that it does not track “

20

21

22                                                             ” PX17 (Meta Responses and

23   Objections to FTC Interrogatory No. 1) at 8-12.

24          B.      The Equities Support a Preliminary Injunction

25          119.    “The second step in deciding whether to grant a preliminary injunction is to

26   balance the equities.” Warner Commc’ns, 742 F.2d at 1165.

27          120.    If the Commission has shown a likelihood of success, “a countershowing of

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1    private equities alone does not justify denial of a preliminary injunction.” Id.

2           121.    The “principal public equity” favoring a preliminary injunction is “the public

3    interest in effective enforcement of the antitrust laws.” H.J. Heinz, 246 F.3d at 726.

4           122.    Without preliminary relief, the Commission may face the “daunting and

5    potentially impossible task” of “unscrambling the eggs” if the proposed Acquisition is

6    ultimately deemed unlawful. FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 918 (E.D.

7    Mo. 2020).

8           123.    As such, “[n]o court has denied relief to the FTC in a 13(b) proceeding in which

9    the FTC has demonstrated a likelihood of success on the merits.” FTC v. ProMedica Health Sys.

10   Inc.., 2011 WL 1219281, at *60 (N.D. Ohio Mar. 29, 2011).

11          124.    Private equities do not support denial of a preliminary injunction.

12          125.    Within’s survival is not in peril if the Court grants a preliminary injunction

13   because “

14           ” PX632 (Within) at 1.

15          126.    Moreover, the termination provisions of the merger agreement provide for a

16                                                             PX6 (Agreement and Plan of Merger) at

17   75.

18          127.    Here, the equities support entry of a preliminary injunction pending resolution of

19   the administrative proceedings.

20

21   Dated: November 21, 2022                              Respectfully submitted,

22                                                         /s/ Abby L. Dennis
                                                           Abby L. Dennis
23                                                         Peggy Bayer Femenella
24                                                         Joshua Goodman
                                                           Jeanine Balbach
25                                                         Michael Barnett
                                                           E. Eric Elmore
26                                                         Justin Epner
                                                           Sean D. Hughto
27

28
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                                                  Frances Anne Johnson
1                                                 Andrew Lowdon
2                                                 Lincoln Mayer
                                                  Erika Meyers
3                                                 Susan A. Musser
                                                  Adam Pergament
4                                                 Kristian Rogers
                                                  Anthony R. Saunders
5
                                                  Timothy Singer
6                                                 James H. Weingarten

7                                                 Federal Trade Commission
                                                  600 Pennsylvania Avenue, NW
8                                                 Washington, DC 20580
                                                  Tel: (202) 326-2381
9

10                                                Erika Wodinsky
                                                  90 7th Street, Suite 14-300
11                                                San Francisco, CA 94103
                                                  Tel: (415) 848-5190
12
                                                  Counsel for Plaintiff Federal Trade
13
                                                  Commission
14

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